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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

TV TOKYO CORPORATION,                                               )
                                                                    )
                                                                    )   Case No. 23-cv-14286
                Plaintiff,                                          )
                                                                    )
                                                                    )   Judge e Sara L. Ellis
v.                                                                  )
                                                                    )
THE INDIVIDUALS, CORPORATIONS,                                      )
LIMITED LIABILITY COMPANIES,                                        )
PARTNERSHIPS AND UNINCORPORATED                                     )
ASSOCIATIONS IDENTIFIED                                             )
ON SCHEDULE A HERETO,                                               )
                                                                    )
                Defendants.                                         )

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT NO. 221

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TV TOKYO
CORPORATION hereby dismisses with prejudice all causes of action in the complaint as to the
Defendant identified below and in Schedule A. No motions are pending relative to this Defendant. Each
party shall bear its own attorney’s fees and costs.

        No.     Defendant
        221     Ruifengsheng

        The respective Defendant has not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                          Respectfully submitted,
Dated: November 21, 2023                  By:     s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
                                                  70 W. Madison Street, Suite 4000
                                                  Chicago, Illinois 60602
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                                                  Attorneys for Plaintiff
                                                  TV TOKYO CORPORATION
    Case: 1:23-cv-14286 Document #: 43 Filed: 11/21/23 Page 2 of 2 PageID #:1801



                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 21, 2023.



                                                           s/Michael A. Hierl
